Case 1:20-cr-10271-DPW Document 1-1 Filed 11/12/20 Page1of4

&JS 45 (5/97) - (Revised U.S.D.C. MA 3/25/2011)

 

 

 

Criminal Case Cover Sheet . U.S. District Court - District of Massachusetts
Place of Offense: Category No. 1 Investigating Agency FBI
City Mashpee Related Case Information:
County _Barstable Superseding Ind./ Inf. Case No.
Same Defendant New Defendant

Magistrate Judge Case Number
Search Warrant Case Number 20-2465,2550,2599,2609 (MBB)

R 20/R 40 from District of

 

 

Defendant Information:

 

 

 

 

 

Defendant Name Cedric Cromwell Juvenile: [ | Yes No
Is this person an attorney and/or a member of any state/federal bar: [| Yes No

Alias Name

Address (City & State) Attleboro, MA

Birth date (Yr only): 1965. SSN (last4#):_ 8435 Sex M _ Race: Native Am Nationality: US

Defense Counsel if known: Timothy R. Flaherty Address 699 Boylston Street, 12th Floor

Bar Number 557477 Boston, MA 02116

 

U.S. Attorney Information:

 

 

 

AUSA ___Christine Wichers Bar Number if applicable _631857
Interpreter: [ | Yes No List language and/or dialect:
Victims: [les [¥]No If yes, are there multiple crime victims under 18 USC§3771(d)(2) [| Yes [ | No
Matter to be SEALED: Yes [| No
[V | Warrant Requested [ | Regular Process [ | In Custody

Location Status:

 

 

 

 

 

 

Arrest Date

[_ ]Already in Federal Custody as of in

[Already in State Custody at [_ |Serving Sentence [Awaiting Trial
[Jon Pretrial Release: | Ordered by: on

Charging Document: [| Complaint [ ] Information Indictment

Total # of Counts: [_ ]Petty TT [Misdemeanor == Felony

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

Date: = 11/12/2020 Signature of AUSA: CAs YX LA. A_—
Case 1:20-cr-10271-DPW Document 1-1 Filed 11/12/20 Page 2 of 4

JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

 

District Court Case Number (To be filled in by deputy clerk):
Name of Defendant

Set |

Set 2

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11]

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:

Cedric Cromwell

 

 

U.S.C, Citations

 

Index Key/Code Description of Offense Charged Count Numbers
18 USC 371 Conspiracy to Commit Federal Programs Bribery 1

 

 

Bribery Concerning Programs Receiving Federal Funds;

 

 

 

 

 

 

18 USC 666(a)(1)\(B), 2 Aiding & Abetting 2.3
18 USC 1951 Conspiracy to Commit Extortion 6

18 USC 1951 Extortion 7-10
18 USC 981(a)(1)(C) ... Forfeiture Allegation

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013
Case 1:20-cr-10271-DPW Document 1-1 Filed 11/12/20 Page 3 of 4

&JS 45 (5/97) - (Revised U.S.D.C. MA 3/25/2011)

 

 

 

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: Category No. Investigating Agency FBI
City Mashpee Related Case Information:
County _Bamstable Superseding Ind./ Inf. Case No.
Same Defendant New Defendant

Magistrate Judge Case Number
Search Warrant Case Number = _20-2465,2550,2599,2609 (MBB)

R 20/R 40 from District of

 

 

Defendant Information:

 

 

 

 

 

Defendant Name David DeQuattro Juvenile: [ ] Yes No
Is this person an attorney and/or a member of any state/federal bar: [ | Yes No

Alias Name

Address (City & State) Warwick, RI

Birth date (Yr only): 1966 SSN (last4#);_ 4303 Sex M_ | Race: W Nationality: US

Defense Counsel if known: William Sinnott Address Barrett & Singal, P.C.

Bar Number 547423 One Beacon St., Ste 1320

 

Boston, MA 02108
U.S. Attorney Information:

 

 

 

AUSA _ _ Christine Wichers Bar Number if applicable _631857
Interpreter: [ | Yes No List language and/or dialect:
Victims: [_ lYes [Y¥]No If yes, are there multiple crime victims under 18 USC§3771(d)(2) [ | Yes [ ] No

Matter to be SEALED: Yes [| No

(V]Warrant Requested [ | Regular Process [ | In Custody

Location Status:

 

 

 

 

 

 

Arrest Date

[_ ]Already in Federal Custody as of in

[_ ]Already in State Custody at [_ |Serving Sentence [Awaiting Trial
[Jon Pretrial Release: | Ordered by: on

Charging Document: [ ] Complaint [_|Information Indictment

Total # of Counts: [_|Petty ——— [_ |Misdemeanor —— Felony

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

Date: 11/12/2020 Signature of AUSA: Cha L\ UV, /—
Case 1:20-cr-10271-DPW Document 1-1 Filed 11/12/20 Page 4 of 4

JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

 

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant David DeQuattro

 

U.S.C. Citations

 

Index Key/Code Description of Offense Charged Count Numbers
Set] 18 USC 371 Conspiracy to Commit Federal Programs Bribery I

 

 

Set 2 18 USC 666(a)(2), 2

Bribery Concerning Programs Receiving Federal Funds;
Aiding & Abetting 4-5

 

Set3 18 USC 981(a)1\(C) ...

 

Forfeiture Allegation

 

 

Set 4

 

Set 5

 

 

 

Set 6

 

Set 7

 

 

Set 8

 

 

 

Set 9

 

 

Set 10

 

 

Set 11

 

 

Set 12

 

 

Set 13

 

 

Set 14

 

 

Set 15

 

ADDITIONAL INFORMATION:

 

 

 

 

 

USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013
